8:09-cr-00003-JFB-MDN        Doc # 222    Filed: 06/15/11   Page 1 of 1 - Page ID # 850




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )                      8:09CR3
                                           )
             v.                            )
                                           )
ANTONIO FRAUSTO,                           )                      ORDER
                                           )
                    Defendant.             )
                                           )


      Before the court is the Request for Transcript by a nonparty, Filing No. 221. After
considering the matter,

      IT IS ORDERED:

      1.     The Request for Transcript (Filing No. 221) is granted, as outlined below.

      2.    The nonparty petitioner must contact court reporter Allan Kuhlman at (402)
661-7305 to make arrangements for the preparation and payment of the transcript.

      3.    The Clerk’s Office is ordered to mail a copy of this order to the nonparty’s
address pursuant to Filing No. 221.

      DATED this 15th day of June, 2011.

                                         BY THE COURT:



                                         s/ Joseph F. Bataillon
                                         Chief District Judge
